Tnis document entered on the docket shoe |n compliance
with Ftute 55 and,'or 32(b} FHCFP on 2 § £1§

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[N THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

  

 

 

WESTERN DIVISION
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CLEP.{"§. U§L_ t Cl COUHT
UNITED STA'I`ES OF AMERICA W£D (.`#:' m i.~Trcl.'iPhlS
v.
CHRISTOPHER L. FRANKS 0Scr20223~3-Ml
ORDER ON ARRAIGNMENT

This cause came to be heard on SL é¢ § 25/5 the United States Attorney
for this district appeared on behalf of the vernm t, an the defendant appeared in person and With
counsel:

NAME \v/%/ IC`M Who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, who is not in custod may stand on his present bond.
L/?Edefendant, (not having m ond) (being a stat soner) (being a federal prisoner)

(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Ma.rshal.

¢-*""‘_-,

UNITED STATES MAGISTRATE JUDGE

CHARGES - 21:846
conspiracy to distribute controlled substance

Attorney assigned to Case: D. Henry

Age: z Z/

 

UNITED sTATE DISTRIC COUR - W"'RNTE D'S'TRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:05-CR-20223 Was distributed by faX, mail, or direct printing on
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David Charles Henry

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Honorable J on McCalla
US DISTRICT COURT

